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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )      Case No. 22-cr-00027- TSC
                                             )
TYLER TEW                            )
                                             )
                       Defendant             )
                                             )



 NOTICE OF WITHDRAWAL OF APPEARANCE OF JOHN M. PIERCE ON BEHALF
                   OF DEFENDANT TYLER TEW

       Pursuant to Local Civil Rule 83.6(b). the undersigned counsel hereby respectfully

withdraws his appearance for Defendant Tyler Tew in the above-caption matter. As of April 28,

2022 William L. Shipley has been retained and will be substituting as counsel of record for

Defendant Tyler Tew. Mr. Shipley has filed an Appearance of Counsel form in this case and is a

member of the D.DC. bar. As Mr. Shipley will remain as lead counsel, there will be no delay in

these proceedings.



Date: April 28, 2022                 Respectfully Submitted,



                                     John M. Pierce
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                                     3d Floor, PMB#172
                                     Woodland Hills, CA 91367
                                     Tel: (213) 279-7846
                                     Email: jpierce@johnpiercelaw.com
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 28, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                     /s/ John M. Pierce
                                     John M. Pierce
